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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )        No. 4:18CR00534 DPM
                                              )
BENNY DON TAYLOR                              )

                            MOTION TO SUPPRESS EVIDENCE

       Benny Don Taylor was arrested in a sting operation for soliciting sex from a minor who

was, in fact, an undercover police officer. Taylor’s car was searched incident to the arrest.

Through his attorneys, J. Blake Hendrix and Annie Depper of Fuqua Campbell, P.A., Taylor

moves to suppress the fruits of the vehicle search.

                                                  I.

       On August 24, 2017, Faulkner County Sheriff’s Deputy Chad Meli found an ad on

Craigslist from someone seeking sex from a college or high school-aged boy. Meli, posing as a

fifteen-year-old boy named Connor Shaw, responded to the ad over Craiglist’s email function.

The recipient of Meli’s email identified himself as “Ben”, and they discussed meeting to have

sex. Phone numbers were exchanged, and the two continued the conversation by text messages.

Arrangements were discussed for the two to meet at a football field at a high school in Conway

on August 27, 2019, at 2:00 p.m. “Ben” agreed to bring beer.

       On August 27, 2019, several officers staked out the football field. At 1:35 p.m., a white

Buick with Texas tags entered the parking lot of the high school. It drove around, exited the

parking lot, and re-entered a few minutes later. Officers approached the vehicle and arrested its

occupant, Benny Don Taylor. Taylor was removed from the vehicle and placed in handcuffs. He

was 78-years old and had a seizure, losing consciousness. The vehicle was searched, and the

officers seized three pairs of female underwear, lubricant, and a piece of paper with notes that



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included the name and phone number of Meli’s nom de plume, and the date, address, and driving

directions to the high school.

       On October 4, 2018, Taylor was indicted for one count of attempting to persuade, induce,

entice, and coerce a minor to engage in sexual activity in violation of 18 U.S.C. §2422(b). He

moves to suppress the fruits of the search of the rental vehicle, contending that the warrantless

search of the automobile was not justified by any well-defined exception to the warrant

requirement.

                                                 II.

       Searches conducted without a warrant are pre se unreasonable, subject to a few well-

established exceptions. Coolidge v. New Hampshire, 403 U.S. 443, 454–55 (1971) (quoting Katz

v. United States, 389 U.S. 347, 357 (1967)); United States v. Williams, 616 F.3d 760 (8th Cir.

2010). Two recognized exceptions are the search-incident-to-arrest exception announced in

Chimel v. California, 395 U.S. 752 (1960), and the automobile exception announced in Carroll

v. United States, 267 U.S. 132 (1925). Both were addressed in Arizona v. Gant, 556 U.S. 332

(2009). In Gant, the Supreme Court considered: 1) whether the police may lawfully search a

vehicle without a warrant when the occupant has been removed and has no reasonable access to

the interior compartment of the vehicle and 2) whether the circumstances unique to an

automobile justify a warrantless search when it is reasonable to believe that evidence of the

offense of arrest might be found in the vehicle. Id. at 336.

       A.      Search incident to arrest

       Gant was suspected of being a drug offender. Officers saw Gant park his vehicle, get out,

and shut the door. Gant and the officers met about ten to twelve feet from Gant’s car, and Gant




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was arrested, handcuffed, and locked in the back seat of a police vehicle. The officers searched

Gant’s car and found a gun and drugs.

       Gant moved to suppress, arguing that the warrantless search of his vehicle was unlawful.

Gant argued that, having been handcuffed and locked in the police vehicle, he posed no threat to

the officers’ safety or could have accessed the vehicle to destroy evidence. New York v. Belton,

453 U.S. 454 (1981), Gant argued, limited a search incident to arrest to the area within the

arrestee’s immediate control, that is, an area “within which he might gain possession of a

weapon or destructible evidence.” Id. at 460, citing Chimel v. California, 395 U.S. 752 (1960).

The Supreme Court agreed. The search-incident-to-arrest doctrine authorizes police to search a

vehicle only when the arrestee is unsecured and within reaching distance of the passenger

compartment at the time of arrest. Arizona v. Gant, 556 U.S. at 344.

       When Taylor was arrested, he was placed in handcuffs. Taylor, who was 78-years old,

had a seizure and lost consciousness. Surrounded by officers, Taylor’s handcuffs were removed

and MEMS called to the scene. When he regained consciousness, he was given water, but

refused treatment. He was then transported to the jail for booking. During this episode, Taylor’s

rental vehicle was searched.

       The record is not completely clear if Taylor was placed in a squad car or not when the

search occurred, but it was impossible for him to have posed any threat to the officers or have

access to destructible evidence inside the car. Taylor was immediately arrested and placed in

handcuffs. He also had a seizure and lost consciousness. An incapacitated 78-year old could not

have gained access to the interior compartment of the rental vehicle. In these circumstances, the

search-incident-to-arrest doctrine did not authorize the search of the vehicle.

       B.      Automobile exception




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       Adopting Justice Scalia’s concurrence in Thornton v. United States, 541 U.S. 615 (2004),

the Gant Court also held that “circumstances unique to the automobile context justify a search

incident to arrest when it is reasonable to believe that evidence of the offense of arrest might be

found in the vehicle.” Arizona v. Gant, 556 U.S. at 336. The Eighth Circuit has applied the

probable-cause standard to determine whether officers have a reasonable belief that evidence of

the offense of arrest will be found in a vehicle. See United States v. Williams, 616 F.3d 760, 766-

7 (8th Cir. 2010) (applying the probable-cause standard); United States v. Grooms, 602 F.3d 939

(8th Cir. 2010) (same). In Brinegar v. United States, 338 U.S. 160 (1949), the Supreme Court

defined probable cause as “where the facts and circumstances within the officers’ knowledge,

and of which they have reasonably trustworthy information, are sufficient in themselves to

warrant a belief by a man of reasonable caution that a crime is being committed.” See also

United States v. Guzman-Tlasca, 546 F.3d 571 (8th Cir. 2008).

       We have found two cases that address probable cause to search a vehicle when the

offense of arrest is soliciting sex from a minor, the offense for which Taylor was arrested. Both

upheld the searches, but, we contend, the cases are distinguishable.

       In United States v. Zahursky, 580 F.3d 515 (7th Cir. 2009), Zahursky struck up an online

chat with Shelly, the screen name of a fictitious fourteen-year-old girl created by a Secret Service

agent investigating internet crimes against children. Over the course of three weeks, Zahursky

and Shelly had numerous chat and email conversations almost daily about arranging a time and

place to meet for sex. Zahursky told Shelly that he would bring condoms and lubricant to the

rendezvous. Zahursky drove from Illinois to Indiana to meet Shelly at the prearranged time and

place. When Zahursky arrived, he was arrested for soliciting sex from a minor. His car was

searched, and the police found condoms, lubricant, and written directions to the destination.




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       Zahursky moved to suppress, contending that when the agents began searching his

vehicle they lacked probable cause to believe that contraband or evidence of the offense of arrest

would be in the vehicle. The Seventh Circuit, however, found ample probable cause, stating,

       [T]he agents knew that Zahursky was the man they wanted. He arrived at
       Starbucks, the designated meeting place, in the make and color of car that he had
       described in his chats with Shelly. He was wearing the clothing he had told Shelly
       he would be wearing, and the agents could observe that his physical appearance
       fit the one he had described to Shelly. The agents also knew from the internet
       chats and email messages with Shelly that Zahursky planned to bring condoms
       and lubricant with him. Thus, they had probable cause, based on Zahursky’s own
       statements, to believe that Zahursky had these items, which would be evidence of
       a crime, see 18 U.S.C. §2422(b), with him when he met Shelly on June 21.


       To further support the finding of probable cause, the Court noted that an element of the

offense of arrest was using a means of interstate commerce. Because the officers knew that

Zahursky drove from Illinois to Indiana, there was a fair probability that the agents would find

some evidence of Zahursky’s interstate travel. Id. at 523.

       Unlike Zahursky, the Faulkner County officers did not necessarily know Taylor was the

man they wanted. Zahursky told Shelly the make and color of the car he would be driving and

described the clothes he would be wearing. Taylor, on the other hand, gave Connor no such

information. All the officers knew was that a car entered the parking lot near where Connor was

to meet Ben twenty-five minutes before the prearranged time.1

       Zahursky also told Shelly he would bring condoms and lubricant. These items were

clearly relevant to the offense of arrest as proof of an intent to engage in sex with a minor. It was

likely, therefore, that evidence specific to the offense of arrest would be found in Zahursky’s car.

Ben, however, never told Connor he would bring anything to the meeting that could constitute



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  The Incident Report states that surveillance units at the scene positively identified the driver as
a suspect. We’ve not seen any evidence that corroborates this assertion.


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evidence of the crime of soliciting a minor. While he said he would bring beer, he did not

mention condoms, lubricant, or any other sex-related items that could constitute proof of

soliciting a minor.

       Finally, the agents knew that Zahursky would be driving from Illinois to Indiana. It was

reasonable, therefore, to believe his car might contain evidence of interstate travel as evidence to

support the interstate commerce element of the offense. There were no discussions between Ben

and Connor, however, to suggest that Ben was crossing state lines to meet with Connor.

       United States v. Wright, 2010 U.S. Dist. LEXIS 19676 (E.D. Tenn. 2010), also involved

the search of a vehicle incident to an arrest for solicitation of a minor. An officer pretending to

be a fourteen-year-old girl named Ginger entered a chat room and began a conversation with a

person later identified as Wright. Over the course of two months, the conversations became more

sexual, and a rendezvous was discussed. Wright told Ginger he had a laptop, his only computer,

and implied he would bring it to the meeting. Ginger asked him to bring the computer so she

could show him a disc of nude pictures of her. Wright also sent Ginger a picture of himself.

When the time and place of the meeting were settled, Ginger asked Wright to bring a particular

shirt, and Wright said he would use his GPS device to find Ginger’s arrest (the place of the

meeting).

       On the day of the rendezvous, officers were in place to make the arrest. The officer who

had posed as Ginger, and who received Wright’s picture, positively identified Wright. Wright

was immediately arrested and, incident to the arrest, officers searched Wright’s vehicle and

seized the laptop. Wright moved to suppress, arguing that it was not reasonable for the police to

believe that any evidence of a crime would be found in the vehicle. The court found otherwise:

       Wells [the officer pretending to be Ginger] knew that when planning the
       rendezvous, Defendant agreed to bring a particular shirt with him and stated he



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       would use his GPS device to find Ginger’s address. Ginger also asked whether he
       would bring his laptop (his only computer), and Wells inferred from their
       conversation that Defendant would. If there was probable cause to believe that
       Defendant’s vehicle contained even one of these items, any of which would be
       evidence of Defendant’s intent in meeting Ginger, the officers were entitled to
       search the entire vehicle anywhere the evidence might be found.


       It was reasonable to conclude that Wright would bring his laptop and that the computer

constituted evidence of Wright’s intent to meet with Ginger for sexual purposes -- so he could

obtain nude pictures of her. The contents of Wright’s GPS device were also relevant to the

offense of arrest to confirm that Wright intended to meet Ginger at the prearranged place.

Finally, the specific shirt constituted direct evidence that Wright was, in fact, the man the police

were looking for.

       In Taylor’s case, however, the sheriffs did not have near as much information. All they

knew was that someone named Ben was supposed to meet Connor in the parking lot by the

football field for sex and that he might bring beer. They did not know the make or model of the

car Ben was supposed to be driving or a description of clothing he would be wearing. All they

saw at the scene was a white car enter the parking lot, exit and drive around, and re-enter. This

was twenty-five minutes before the time for the rendezvous.

       The beer, of course, is problematic for Taylor’s argument. But, when balanced against

Zahursky and Wright, we submit the officers did not have sufficient probable cause to believe

any evidence of the offense of arrest would likely be found in the vehicle. In Zahursky and

Wright, the officers had knowledge of the type of car driven and descriptions of clothing and

items the defendants would bring to the meeting, items that were direct evidence of the offense

of arrest. Here, however, the quantum of facts known to the officers was much less, and, we




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contend, insufficient to establish probable cause to believe the vehicle would likely contain

evidence of the crime of soliciting a minor.

       For these reasons, we ask the Court to order suppression of the items seized from the

rental vehicle.

                                               Respectfully submitted by,


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